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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------x
SECURITIES AND EXCHANGE COMMISSION,                                     :
                                                                        :
                                             Plaintiff,                 :   No. 20 Civ. 10832 (AT) (SN)
                                                                        :
                           - against -                                  :   ECF Case
                                                                        :
RIPPLE LABS, INC., BRADLEY GARLINGHOUSE, :
And CHRISTIAN A. LARSEN                                                 :
                                                                        :
                                             Defendants.                :
                                                                        :
----------------------------------------------------------------------- x

                   DECLARATION OF LADAN F. STEWART IN SUPPORT
                          OF PLAINTIFF’S OPPOSITION TO
                   DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

        I, Ladan F. Stewart, pursuant to 28 U.S.C. § 1746, declare as follows:

        1.       I am a member of the bar of the State of New York and of the United States District

Court for the Southern District of New York. I am employed by Plaintiff Securities and Exchange

Commission (the “SEC”) in its New York Regional Office.

        2.       I have personal knowledge of the facts and circumstances of the case. As counsel

representing the SEC, I reviewed information and documents obtained by the SEC during its

investigation and litigation of this matter, including documents described herein, and information

provided to me by members of the SEC staff.

        3.       I am submitting this Declaration to put forth exhibits in support of the

SEC’s opposition to the summary judgment motion of Defendants Ripple Labs, Inc., Bradley

Garlinghouse, and Christian A Larsen.
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        4.     Attached hereto are true and correct copies of the following documents or excerpts
thereof:

 Exhibit                Document Description                           Bates or Website
 PX 113      Email chain dated November 22, 2017                RPLI_SEC 0052056
 PX 398      Declaration of Christopher Ferrante, dated         N/A
             October 18, 2022
 PX 409      Email chain dated February 7, 2019 with            RPLI_SEC 0971231
             attachment
 PX 456      Email chain dated November 12, 2019 with           RPLI_SEC 0982737
             attachments
 PX 457      Transcript of audio file, dated October 1, 2019    RPLI_SEC 1141099
 PX 499      Email chain dated January 30, 2020                 RPLI_SEC 0552756
 PX 500      Amended Expert report of                , Ph.D.,   N/A
             dated October 6, 2021
 PX 505      Supplemental Expert Report of                ,     N/A
             dated February 28, 2022
 PX 525      Expert Rebuttal Report of                Ph.D.,    N/A
             dated November 12, 2021
 PX 526      Email chain dated June 9, 2017                            0051663
 PX 528      Email chain dated January 4, 2017                  RPLI_SEC 0353479
 PX 529      Email chain dated August 1, 2018                   RPLI_SEC 0431365
 PX 530      Email chain dated October 25, 2019                 RPLI_SEC 0478676
 PX 532      Email chain dated March 21, 2016 and               RPLI_SEC 0091249
             attachment
 PX 533      Email chain dated June 24, 2015 and                RPLI_SEC 0095167
             attachment
 PX 535      Email dated April 3, 2019                          RPLI_SEC 0414368
 PX 537      Email chain dated January 5, 2019                  RPLI_SEC 0269617
 PX 538      Email chain dated August 7, 2018                   RPLI_SEC 0453728
 PX 539      Email chain dated November 30, 2015                RPLI_SEC 0484565
 PX 547      Slack chat dated June 24, 2020                     RPLI_SEC 0504550
 PX 548      Email chain dated October 27, 2020                 RPLI_SEC 0505983
 PX 549      Reserved                                           N/A
 PX 550      Reserved                                           N/A
 PX 551      Reserved                                           N/A
 PX 552      Email chain dated January 31, 2017 with            RPLI_SEC 0532018
             attachment
 PX 553      Reserved                                           N/A
 PX 554      Reserved                                           N/A
 PX 555      Email chain dated April 15, 2020                   RPLI_SEC 0768533



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PX 556   Email chain dated December 18, 2014 with           RPLI_SEC 0914881
         attachment
PX 557   Agreement among Larsen, Jed McCaleb, and           RPLI_SEC 0956688
         Arthur Britto, dated September 17, 2012
PX 558   Reserved                                           N/A
PX 559   Email dated February 20, 2019                      SEC-           -E-0048808
PX 560   Financial Times, With $16bn in Cryptocurrency,     SEC-JFSA-E-0032887
         Ripple Attempts a Reset, dated August 13, 2020
PX 561   Email chain dated March 22, 2018                                 000303
PX 562   Email chain dated May 11, 2018                         _RIPPLE0007260
PX 563   Ripple forum posts, dated December 22, 2012        N/A
PX 564   Email dated May 3, 2019 with attachment            SEC-             -E-0048726
PX 565   Exchange Analysis – U.S. Customers                 RPLI_SEC 0807008
PX 566   XRP Sales Exchange Geography                       RPLI_SEC 0751829
PX 567   Slack chat, dated October 8, 2019                  RPLI_SEC 1076439
PX 568   SEC Release No. 34-83273 (July 26, 2018)           https://www.sec.gov/rules/other/2
                                                            018/34-83723.pdf
PX 569   Ripple’s Employee and Board Member XRP             RPLI_SEC 0642635
         Trading Plan Instructions and Form
PX 570   Javier Paz, More Than Half of All Bitcoin Trades   https://www.forbes.com/sites/javi
         are Fake, FORBES, dated August 26, 2022            erpaz/2022/08/26/more-than-half-
                                                            of-all-bitcoin-trades-are-
                                                            fake/?sh=7740a5f46681
PX 571   Deposition transcript of Alan Schwartz, dated      N/A
         February 11, 2022
PX 572   Reserved                                           N/A
PX 573   Email chain dated March 31, 2018                   GARL_Civil_000637
PX 574   Email chain dated June 23, 2019                    GARL00000108
PX 575   Email chain dated September 28, 2018               LARSEN_NAT 00000093
PX 576   Email dated October 7, 2019                        RPLI_SEC 0550551
PX 577   Email chain dated September 19, 2019               SEC-           -E-0050754
PX 578   Email dated May 19, 2017                           RPLI_SEC 0623105
PX 579   Email dated May 6, 2017                            RPLI_SEC 0623136
PX 580   Email dated April 21, 2017                         RPLI_SEC 0623146
PX 581   Email dated January 23, 2018                       RPLI_SEC 0010590
PX 582   Email chain dated December 27, 2017                RPLI_SEC 0512265
PX 583   Email chain dated March 29, 2017                   RPLI_SEC 0018325
PX 584   Email chain dated December 1, 2016                 RPLI_SEC 0056805
PX 585   Slack chats dated September 15, 2020               RPLI_SEC 1084074
PX 586   Slack chats dated August 9, 2017                   RPLI_SEC 1082332
PX 587   Email chain dated March 22, 2017                   RPLI_SEC 0056513
PX 588   Email chain dated March 5, 2018                    RPLI_SEC 0069949
PX 589   Email chain dated January 5, 2018                  RPLI_SEC 0203416

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PX 590   Email chain dated October 2, 2016                RPLI_SEC 0050302
PX 591   Ripple.com Report, dated September 2016          RPLI_SEC 0701612
PX 592   Email chain dated September 19, 2017             RPLI_SEC 0646875
PX 593   Email dated May 22, 2017                         RPLI_SEC 0623089
PX 594   Slack chats dated April 3, 2019                  RPLI_SEC 1121276
PX 595   Web capture dated May 18, 2017 re: How to        RPLI_SEC 1108991
         Buy XRP
PX 596   Email chain dated March 21, 2017                 RPLI_SEC 0059355
PX 597   Ripple Sales XRP FAQ                             RPLI_SEC 0820758
PX 598   2Q19 XRP Markets Report, dated July 24,          RPLI_SEC 1114447
         2019
PX 599   Email chain dated November 22, 2017              RPLI_SEC 0054189
PX 600   Email chain dated December 23, 2016              RPLI_SEC 0009737
PX 601   Email dated July 18, 2017                        RPLI_SEC 0048597
PX 602   Email chain dated January 16, 2017               RPLI_SEC 0059456
PX 603   Email chain dated February 20, 2017              RPLI_SEC 0018343
PX 604   Email chain dated April 10, 2017                 RPLI_SEC 0513049
PX 605   Email chain dated October 2, 2017                RPLI_SEC 0029883
PX 606   Email dated January 1, 2018                      RPLI_SEC 0041093
PX 607   Email chain dated January 17, 2017               RPLI_SEC 0049542
PX 608   Email dated January 18, 2017                     RPLI_SEC 0056671
PX 609   Email dated October 19, 2017                            0163734
PX 610   Email dated April 1, 2015, attaching agreement   GSR00008432
         between Larsen and GSR
PX 611   Email chain dated October 13, 2020               GSR00021711
PX 612   Agreement between Larsen and GSR, dated          GSR00000689
         January 24, 2020
PX 613   Email chain dated October 4, 2020                GSR00021703
PX 614   Agreement between Larsen and GSR, dated          GSR00000673
         October 4, 2017
PX 615   Agreement between Garlinghouse and GSR,          GSR00000681
         dated December 18, 2017
PX 616   Email chain dated October 8, 2020                GSR00021713
PX 617   Email chain dated October 14, 2020               GSR00021703
PX 618   Email chain dated October 16, 2020               GSR00021684
PX 619   Email chain dated October 13, 2020               GSR00021711
PX 620   Email chain dated January 29, 2020               RPLI_SEC 0550287
PX 621   Second Amended Rebuttal Report of                N/A
                   , dated February 24, 2022
PX 622   Reserved                                         N/A
PX 623   Twitter post by @ashgoblue dated February        https://twitter.com/ashgoblue/stat
         25, 2022                                         us/1232480844847017985?s=20


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PX 624   Deposition transcript of Lawrence Angelilli        N/A
         dated August 3, 2021
PX 625   Email chain dated April 15, 2020                   RPLI_SEC 0768533
PX 626   ODL Account Review Presentation, dated             RPLI_SEC 0688733
         April 13, 2020
PX 627   Reserved                                           N/A
PX 628   Reserved                                           N/A
PX 629   Amended and Restated Ripple Work Order #1          MONEYGRAM_SEC 0000658
         between Ripple and MoneyGram, dated
         December 31, 2019
PX 630   Email chain dated January 13, 2020                 RPLI_SEC 0504441
PX 631   Email chain dated August 24, 2017                  RPLI_SEC 0526856
PX 632   Email chain dated March 29, 2020                   RPLI_SEC 0479912
PX 633   Email chain dated August 25, 2020                  RPLI_SEC 0506230
PX 634   Declaration of Lawrence Angelilli, dated March     N/A
         14, 2021
PX 635   BIS Working Papers No 1013, dated May 2022         https://www.bis.org/publ/work10
                                                            13.pdf
PX 636   FINANCIAL STABILITY BOARD, Assessment of           https://www.fsb.org/wp-
         Risks to Financial Stability from Crypto-Assets,   content/uploads/P160222.pdf
         February 16, 2022
PX 637   INTERNATIONAL MONETARY FUND, Global                https://www.imf.org/-
         Financial Stability Report, 2021 (Ch. 2-a)         /media/Files/Publications/GFSR/
                                                            2021/October/English/ch2.ashx
PX 638   Eric D. Chason, How Bitcoin Functions As           https://scholarship.law.wm.edu/cgi
         Property Law, 49 Seton Hall Law Review 129         /viewcontent.cgi?article=2936&con
         (2019)                                             text=facpubs
PX 639   Memorandum by                  LLP, dates          RLPI_SEC 1027262
         February 2014
PX 640   Email Chain dated June 15, 2019                    RPLI_SEC 0602119
PX 641   Transcript of Internal Ripple Company              RPLI_SEC 1141043
         Meeting held on February 5, 2018
PX 642   Transcript of Internal Ripple Company              RPLI_SEC 1100529
         Meeting held on September 11, 2020
PX 643   Transcript of Internal Ripple Company              RPLI_SEC 1141204
         Meeting held on April 30, 2018
PX 644   Transcript of Internal Ripple Company              RPLI_SEC 1141059
         Meeting held on February 4, 2019




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I declare under penalty of perjury that the foregoing is true and correct.

Dated: New York, New York
       October 18, 2022


                                                        ____/s/ Ladan F. Stewart_____
                                                              Ladan F. Stewart




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